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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION


DONNA CAVE, et al.,                                                PLAINTIFFS

ANNE ORSI, et al.,                             CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                    INTERVENORS

v.                      Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                                DEFENDANT


     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT HEARING

     All parties having completed briefing on the pending cross motions for

summary judgment, all plaintiffs move that the Court schedule a hearing on these

motions for the purpose of oral argument.

     The Arkansas Secretary of State takes no position on this motion.


                     Respectfully submitted,

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